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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 Yalan Song,
                                                   Case No. 24-CV-1618
                Plaintiff,

          v.

 The Partnerships and
 Unincorporated Associations Iden-
 tified on Schedule “A”,

                Defendants.




                                       COMPLAINT

      Plaintiff Yalan Song (“Song”), by and through her attorneys, The Law Offices of

Konrad Sherinian, LLC, hereby brings the present action against the Partnerships and

Unincorporated Associations (collectively, “Defendants”) identified on Schedule A at-

tached to the complaint and alleges as follows:

                              JURISDICTION AND VENUE

     1.        This is an action for trademark infringement, counterfeiting, false associa-

tion, false designation of origin in violation of the Lanham Act, 15 U.S.C. § 1114 and 15

U.S.C. § 1125(a)(1)(A).
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      2.        This Court has original subject matter jurisdiction over the federal claims

pursuant to 15 U.S.C. § 1051, et seq., 28 U.S.C. §§ 1331 (federal question jurisdiction),

and 28 U.S.C. § 1338(a)-(b) (original jurisdiction for trademark claims).

      3.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and this Court

may properly exercise personal jurisdiction over Defendants. Each of the Defendants di-

rectly targets business activities toward consumers in the United States, including Illinois,

through their operation of, or assistance in the operation of, the fully interactive, commer-

cial Internet stores operating under the seller aliases and online marketplace accounts

identified in Schedule A attached hereto (collectively, the “Defendant Online Stores” and

“Defendant Online Marketplaces”), as well as the shipment of products offered for sale

on those Defendant Online Stores. Specifically, Defendants are involved in the produc-

tion, listing for sale, sale, and/or shipping of products to Illinois residents that use infring-

ing copies of Plaintiff’s trademark. Defendants have committed and knowingly partici-

pated in the commission of tortious acts in Illinois, causing Plaintiff substantial injury in

the State of Illinois.

      4.        Each of the Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce, and has wrongfully caused Song substantial injury in the State of

Illinois. This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this judicial district, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in

Illinois and in this judicial district.




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                                NATURE OF THE CASE

     5.       This lawsuit concerns Defendants’ attempt to free ride on the reputation and

goodwill of Song by selling and/or offering for sale counterfeit products in connection with

Song’s Bang Duo Fu trademarks, which are covered by U.S. Trademark Registration Nos.

7,149,424 (collective the “Bang Duo Fu Trademarks”). The registrations are valid and

subsisting. The registrations for the Bang Duo Fu Trademarks constitute prima facie evi-

dence of their validity and of Song’s exclusive right to use the Bang Duo Fu Trademarks

pursuant to 15 U.S.C. § 1057(b). Genuine and authentic copies of the U.S. federal trade-

mark registration certificates for the Bang Duo Fu Trademarks are attached as Exhibit 1.

The Bang Duo Fu Trademarks and a genuine product from Song that bears the Bang

Duo Fu Trademarks are shown in the table below:

 Bang Duo Fu Trademarks of Regis- Genuine product from Song that bears the Bang
 tration Nos. 7,149,424           Duo Fu Trademarks




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     6.        The rapid increase of e-commerce sites and their ability to hide their true

identities have made it nearly impossible for trademark policing actions to be undertaken.

In the past, Song has availed herself of takedown procedures to remove infringing and

counterfeit products from the third-party e-commerce platforms, such as Walmart.com

and Amazon.com. However, these efforts have proved to be an unavailing game of

whack-a-mole against the mass counterfeiting that is occurring over the Internet. The

aggregated effect of the mass counterfeiting that is taking place has overwhelmed Song

and her ability to police its rights against numerous anonymous defendants which are

selling illegal counterfeits.

     7.        To be able to offer the counterfeit products at a price substantially below the

cost of original, while still being able to turn a profit after absorbing the cost of manufac-

turing, advertising and shipping requires an economy of scale only achievable through a

cooperative effort throughout the supply chain.

     8.        Defendants create and operate Internet online stores under one or more

seller aliases that are advertising, offering for sale and selling infringing and counterfeit

products bearing the Bang Duo Fu Trademarks to unaware consumers. Online stores

operating under the seller aliases share unique identifiers, establishing a logical relation-

ship between them and that Defendants’ infringing operation arises out of the same trans-

action, occurrence, or series of transactions or occurrences. Defendants attempt to avoid

and mitigate liability by operating under one or more seller aliases to conceal their identi-

ties and the full scope and interworking of their infringing operation. Plaintiff is forced to

file this action to combat Defendants’ infringing and counterfeiting activities and protect

unaware consumers from purchasing counterfeit products.




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     9.       Various e-commerce platforms have made attempts to control counterfeit-

ing on their respective platform. The China based e-commerce platform Alibaba has

made public its efforts to reduce and prevent counterfeiting on its e-commerce sites.

     10.      However, the rapid growth of e-commerce as a method of marketing and

supplying products to the general public exposes brand holders and creators that make

significant investments in their products and brands to significant harm from counterfeit-

ers. Song has been and continues to be irreparably harmed through consumer confusion,

and loss of control over its reputation and good-will as well as the quality of goods bearing

the Bang Duo Fu Trademarks.

     11.      Online counterfeiting has been and is harming not only the brand holders,

but also the public as well.

     12.      Song’s investigation shows that the telltale signs of an illegal counterfeiting

ring are present in the instant action. For example, Schedule A shows the use of store

aliases by the Defendant Online Stores that employ no normal business nomenclature

and, instead, have the appearance of being made up, or if a company that appears to be

legitimate is used, online research shows that there is no known address for the company.

Thus, the Defendant Online Stores are using fake online storefronts designed to appear

to be selling genuine products bearing the Bang Duo Fu Trademarks (“Song’s Products”),

while selling inferior imitations of Song’s products. The Defendant Online Stores also

share unique identifiers, such as design elements and similarities of the counterfeit prod-

ucts offered for sale, establishing a logical relationship between them and suggesting that

Defendants’ illegal operations arise out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants attempt to avoid liability by going to great




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lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Song is forced to file this action to combat Defendants’ counter-

feiting of Song’s registered Bang Duo Fu Trademarks, as well as to protect unknowing

consumers from purchasing unauthorized Bang Duo Fu products over the Internet.

     13.      Defendants are well aware of Song’s Bang Duo Fu Trademarks and despite

their awareness of Song’s rights have decided to offer counterfeit products in an attempt

to free-ride on Song’s goodwill and reputation. Their use of the Bang Duo Fu Trademarks

is intended to, and do, deceive consumers into believing that Song is affiliated with De-

fendants, and that Song has approved or endorsed the use of the valuable Bang Duo Fu

Trademarks in connection with Defendants’ online businesses and products.

     14.      Accordingly, and for the reasons set forth more fully below, Defendants are

liable for, among other things, trademark infringement, counterfeiting, false association

and false designation of origin, and unfair competition. Defendants should be enjoined

from any further infringement and counterfeiting, and Song is entitled to damages in an

amount to be determined at trial.

                                         PARTIES

     15.      Plaintiff Yalan Song is a Chinese national residing in the city of Jian, Jiangxi

Province, China.

     16.      Song has been operating her own online stores marketing skin cream prod-

ucts using the Bang Duo Fu Trademarks for several years. She has exclusively used the

Bang Duo Fu Trademarks for several years. Products sold under the Bang Duo Fu Trade-

marks are among the most popular skin care products offered online.




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     17.      Song's brand, symbolized by the Bang Duo Fu Trademarks, is a recognized

symbol of high-quality merchandise. The Bang Duo Fu Trademarks are distinctive and

identify the merchandise as goods from Song. The registrations for the Bang Duo Fu

Trademarks constitute prima facie evidence of their validity and of Song’s exclusive right

to use the Bang Duo Fu Trademarks pursuant to 15 U.S.C. § 1057 (b). The Bang Duo Fu

Trademarks have been continuously used and never abandoned.

     18.      Song has expended substantial time, money, and other resources in devel-

oping, advertising, and otherwise promoting the Bang Duo Fu Trademarks. As a result,

products bearing the Bang Duo Fu Trademarks are widely recognized and exclusively

associated by consumers, the public, and the trade as being products sourced from Song.

     19.      Defendants are individuals or business entities who, upon information and

belief, reside in foreign jurisdictions, such as the People’s Republic of China. They own

and/or operate fully interactive online stores under the seller aliases, listed on the at-

tached Schule A, to conduct business activity throughout the entire United States via

online promotion, offering for sale, and importation and distribution of infringing and coun-

terfeit products bearing the Bang Duo Fu Trademarks. Defendants deceive unaware con-

sumers by using the Bang Duo Fu Trademark without authorization or license from Song

to use the Bang Duo Fu Trademarks. Each of the Defendants has targeted Illinois and

this district by selling, offering to sell and/or knowingly assisting in the selling or offering

to sell, the counterfeit products to Illinois consumers on Walmart.com and other e-com-

merce platforms.

     20.      On information and belief, Defendants, either individually or jointly, operate

their online stores under the seller aliases identified in attached Schedule A. Defendants




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appear to be an interrelated group of infringers operating under different seller aliases.

Defendants’ online stores share certain common design elements, the same or similar

counterfeit products that they offer for sale, similar product descriptions, the same or sub-

stantially similar shopping cart platforms, the same accepted currency of U.S. Dollar via

PayPal and other well-known payment methods, the same or substantially similar check-

out methods, and other similarities. Such similarities provide evidence to establish a log-

ical relationship between them and suggest that Defendants’ illegal operations arise out

of the same series of transactions or occurrences. They also use various tactics to con-

ceal their true identities and the complete scope of their illegal operation. Due to the tac-

tics they deployed, it is virtually impossible for Plaintiff to ascertain Defendants’ identities

and their actual interworking. Song will amend the Complaint if and when Defendants’

true identities become known to Song.



                         DEFENDANTS’ UNLAWFUL CONDUCT

     21.       The Bang Duo Fu brand’s success in recent years has resulted in significant

counterfeiting by Defendants. Defendants conduct their illegal operations through fully

interactive commercial websites hosted on various e-commerce platforms. Each Defend-

ant targets consumers in the United States, including the State of Illinois, and has offered

to sell and, on information and belief, has sold and continues to sell counterfeit products

bearing the Bang Duo Fu Trademarks to consumers within the United States, including

the State of Illinois.

     22.       Defendants intentionally conceal their identities and the full scope of their

counterfeiting operations on various e-commerce platforms in an effort to deter Song from




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learning their true identities and the exact interworking of their illegal counterfeiting oper-

ations. Through their operation of the Defendant Online Stores, they are directly and per-

sonally contributing to, inducing and engaging in the sale of counterfeit products as al-

leged, often times as partners, co-conspirators and/or suppliers. Upon information and

belief, Defendants are an interrelated group of counterfeiters working in active concert to

knowingly and willfully manufacture, import, distribute, offer for sale, and sell counterfeit

products violating Song’s intellectual property rights.

     23.      On information and belief, at all times relevant hereto, Defendants, have

had full knowledge of Song’s ownership of the Bang Duo Fu Trademarks, including the

exclusive right to use and license such intellectual property and the goodwill associated

therewith. They often go to great lengths to conceal their identities by using multiple ficti-

tious names and addresses to register and operate their massive network of Defendant

Online Stores. Defendant Online Stores also use privacy services to conceal the owners’

identities and contact information. On information and belief, Defendants regularly create

new websites and online marketplace accounts on various e-commerce platforms using

the identities listed in Schedule A to the Complaint, as well as other unknown fictitious

names and addresses. Such Defendant Online Store registration patterns are one of

many common tactics used by the Defendants to conceal their identities, and the full

scope and interworking of their massive counterfeiting operation, and to avoid being shut

down by the hosting e-commerce platforms.

     24.      The counterfeit products of the Bang Duo Fu Trademarks and offered for

sale by the Defendant Online Stores bear similarities and indicia of being related to one

another, suggesting that the counterfeit Bang Duo Fu products were manufactured by




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and come from a common source and that, upon information and belief, Defendants are

interrelated. The Defendant Online Stores also include other notable common features,

including use of the same store name registration patterns, unique shopping cart plat-

forms, accepted payment methods, check-out methods, meta data, illegitimate Search

Engine Optimization (SEO) tactics, HTML user-defined variables, domain redirection,

lack of contact information, identically or similarly priced items and volume sales dis-

counts, similar hosting services, similar name servers, and the use of the same text and

images.

     25.      Furthermore, Defendants in this action also use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will of-

ten register new stores or online marketplace accounts under new aliases once they re-

ceive notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers

located outside the United States once notice of a lawsuit is received. Rogue servers are

notorious for ignoring takedown demands sent by brand owners. Counterfeiters also typ-

ically ship products in small quantities via international mail to minimize detection by U.S.

Customs and Border Protection.

     26.      Counterfeiters like Defendants in this case typically operate multiple credit

card merchant accounts and third-party accounts, such as Walmart.com accounts, Pay-

Pal, Inc. ("PayPal") accounts and Payoneer Global Inc. (“Payoneer”) accounts, behind

layers of payment gateways so that they can continue operation in spite of Song’s en-

forcement efforts. On information and belief, Defendants maintain off-shore bank ac-

counts and regularly move funds from their PayPal or similar accounts to off-shore bank

accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal transaction logs




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from previous similar cases indicates that offshore counterfeiters regularly move funds

from U.S.-based accounts to China-based bank accounts outside the jurisdiction of this

Court.

     27.      On information and belief, Defendants also deceive unknowing consumers

by using the Bang Duo Fu Trademarks without authorization within the content, text,

and/or meta tags of their online store websites to attract various search engines crawling

the Internet looking for websites relevant to consumer searches for Bang Duo Fu prod-

ucts. On information and belief, Defendants facilitate sales by designing the Defendant

Online Stores so that they appear to unknowing consumers to be authorized online retail-

ers, outlet stores, or wholesalers selling genuine Bang Duo Fu products. Additionally,

upon information and belief, Defendants use other unauthorized SEO tactics and social

media spamming so that the Defendant Online Stores show up at or near the top of rele-

vant search results and misdirect consumers searching for genuine Bang Duo Fu prod-

ucts. Further, Defendants utilize similar illegitimate SEO tactics to propel new Defendant

Online Stores to the top of search results after others are shut down.

     28.      Defendants’ use of the Bang Duo Fu Trademarks on or in connection with

the advertising, marketing, distribution, offering for sale and sale of the counterfeit prod-

ucts is likely to cause and has caused confusion, mistake and deception by and among

consumers and is irreparably harming Song. Defendants have manufactured, imported,

distributed, offered for sale and sold counterfeit products using counterfeit versions of the

Bang Duo Fu Trademarks and continue to do so. In addition, without authorization or

license from Song, Defendants in this case have knowingly and willfully used and con-

tinue to use the Bang Duo Fu Trademarks in connection with the advertisement, offer for




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sale and sale of the counterfeit products over the Internet. Song did not manufacture,

inspect or package the counterfeit products and did not approve the counterfeit products

for sale or distribution. The Defendant Online Stores offer shipping to the United States,

including Illinois, the counterfeit products into the United States, including Illinois.

     29.      Unknowing consumers are deceived by Defendants’ use of the Bang Duo

Fu Trademarks without authorization within the content, text, and/or meta tags of the list-

ings on infringing webstores in order to attract various search engines crawling the inter-

net looking for websites relevant to consumer searches for Bang Duo Fu products and in

consumer product searches within the webstores. On information and belief, Defendants

will continue to register or acquire listings for the purpose of selling counterfeit goods that

infringe upon the Bang Duo Fu Trademarks unless preliminarily and permanently en-

joined.

     30.      Defendants’ use of the Bang Duo Fu Trademarks in connection with the

advertising, distribution, offering for sale, and sale of counterfeiting Bang Duo Fu prod-

ucts, including the sale of counterfeit Bang Duo Fu products into Illinois, is likely to cause

and has caused confusion, mistake, and deception by and among consumers and is ir-

reparably harming Song.

                                   COUNT I
                TRADEMARK INFRINGEMENT AND COUNTERFEITING
                              (15 U.S.C. § 1114)

     31.      Plaintiff realleges and incorporates by reference the previous paragraphs of

this Complaint.

     32.      This is a trademark infringement action against Defendants based on the

unauthorized use in commerce of counterfeiting imitations of the registered Bang Duo Fu




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Trademarks in connection with the sale, offering for sale, distribution, and/or advertising

of infringing goods. The Bang Duo Fu Trademarks are highly distinctive marks. Consum-

ers have come to expect the highest quality from Song's products provided under the

Bang Duo Fu Trademarks.

     33.      Defendants have advertised, marketed, offered to sell, sold, distributed, and

are still advertising, marketing, offering to sell, selling, and distributing counterfeit prod-

ucts in connection with the Bang Duo Fu Trademarks without Song's permission.

     34.      The U.S. Registrations for the Bang Duo Fu Trademarks, see Exhibit 1, are

in full force and effect and are exclusively owned by Song. Upon information and belief,

Defendants have knowledge of Song’s rights in the Bang Duo Fu Trademarks, and are

willfully infringing and intentionally using counterfeits of the Bang Duo Fu Trademarks.

Defendants’ willful, intentional and unauthorized use of the Bang Duo Fu Trademarks is

likely to cause and is causing confusion, mistake, and deception as to the origin and

quality of the counterfeit goods among the general public.

     35.      Defendants’ online activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

     36.      Song has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Song will continue to suffer irreparable harm to its reputation and the goodwill

of its well-known Bang Duo Fu Trademarks.

     37.      The injuries and damages sustained by Song has been directly and proxi-

mately caused by Defendants’ wrongful reproduction, use, advertisement, promotion, of-

fering to sell, and sale of counterfeit Bang Duo Fu products.




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                                COUNT II
           FALSE ASSOCIATION AND FALSE DESIGNATION OF ORIGIN
                           (15 U.S.C. § 1125(a))

     38.      Plaintiff realleges and incorporates by reference the previous paragraphs of

this Complaint.

     39.      Defendants’ advertising, marketing, offering for sale, and sale of counter-

feiting Bang Duo Fu products have created and is creating a likelihood of confusion, mis-

take, and deception among the general public as to the affiliation, connection, or associ-

ation with Song or the origin, sponsorship, or approval of Defendants’ counterfeit Bang

Duo Fu products by Song.

     40.      By using the Bang Duo Fu Trademarks in connection with the sale of coun-

terfeiting Bang Duo Fu products, Defendants has created and create a false designation

of origin and a misleading representation of fact as to the origin and sponsorship of the

counterfeiting Bang Duo Fu products.

     41.      Defendants’ false designation of origin and misrepresentation of fact as to

the origin and/or sponsorship of the counterfeiting Bang Duo Fu products to the general

public is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

     42.      Song has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Song will continue to suffer irreparable harm to its reputation and the goodwill

of the well-known Bang Duo Fu Trademarks.



                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court enter judgment against

Defendants as follows:




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1. That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert

with them be temporarily, preliminarily and permanently enjoined and restrained from:

   a. using the Bang Duo Fu Trademarks or any reproductions, counterfeit copies,

   or colorable imitations thereof in any manner in connection with the distribution,

   marketing, advertising, offering for sale, or sale of any product that is not a genuine

   Bang Duo Fu product or is not authorized by Plaintiff to be sold in connection with

   the Bang Duo Fu Trademarks;

   b. passing off, inducing, or enabling others to sell or pass off any product as a

   genuine Bang Duo Fu product or any other product produced by Plaintiff that is not

   Plaintiff’s or not produced under the authorization, control, or supervision of Plain-

   tiff and approved by Plaintiff for sale under the Bang Duo Fu Trademarks;

   c. committing any acts calculated to cause consumers to believe that Defendants’

   counterfeiting Bang Duo Fu products are those sold under the authorization, con-

   trol, or supervision of Plaintiff, or are sponsored by, approved by, or otherwise

   connected with Plaintiff;

   d. further infringing the Bang Duo Fu Trademarks and damaging Plaintiff’s good-

   will;

   e. otherwise competing unfairly with Plaintiff’s in any manner;

   f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

   distributing, returning, or otherwise disposing of, in any manner, products or inven-

   tory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

   offered or sale, and which bear any Plaintiff’s trademarks, including the Bang Duo




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   Fu Trademarks, or any reproductions, counterfeit copies, or colorable imitations

   thereof; and

   g. using, linking to, transferring, selling, exercising control over, or otherwise own-

   ing the Defendant Online Stores, or any other online marketplace account that is

   being used to sell or is the means by which Defendants could continue to sell

   counterfeiting Bang Duo Fu products;

2. That Defendants, within fourteen (14) days after service of judgment with notice of

entry hereof upon them, be required to file with the Court and serve upon Plaintiff a

written report under oath setting forth in detail the manner and form in which Defend-

ants have complied with paragraph 1, a through g, above;

3. Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as, but not

limited to, eBay, PayPal, WISH, Amazon, Alipay, Alibaba, AliExpress, Walmart,

Wish.com, Etsy, DHgate, social media platforms, Facebook, YouTube, LinkedIn, Twit-

ter, internet search engines such as Google.com, Bing.com and Yahoo.com, web

hosts or the Defendant Online Stores, and online marketplace account registrars,

shall:

   a. disable and cease providing services for any accounts through which Defend-

   ants engage in the sale of counterfeiting Bang Duo Fu products using the Bang

   Duo Fu Trademarks, including any accounts associated with the Defendants listed

   on Schedule A;




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        b. disable and cease displaying any advertisements used by or associated with

        Defendants in connection with the sale of counterfeiting Bang Duo Fu products

        using the Bang Duo Fu Trademarks; and

        c. take all steps necessary to prevent links to the Defendant Online Stores iden-

        tified on schedule A from displaying in search results, including, but not limited to,

        removing inks to the Defendant Online Stores from any search index;

   4. That Defendants account for and pay to Plaintiff all profits realized by Defendants

   by reason of Defendants’ unlawful acts herein alleged, and that the amount of dam-

   ages for infringement of the Bang Duo Fu Trademarks be increased by a sum not

   exceeding three times the amount thereof as provided by 15 U.S.C. § 1117;

   5. In the alternative, that Plaintiff be awarded statutory damages pursuant to 15

   U.S.C. § 117(c)(2) of $2,000,000 for each and every use of the Bang Duo Fu Trade-

   marks;

   6. That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

   7. Award any and all other relief that this Court deems just and proper.




                                                          YALAN SONG


Date:    February 27, 2024                                By:    /s/ Konrad Sherinian
                                                                An attorney for plaintiff



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